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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE


United States

     v.                                     Criminal No. 09-cr-187-08-JL

Thomas Golliver


                                    O R D E R

     On May 3, 2012, defendant appeared for a bail hearing under

Fed. R. Crim. P. 32.1(a)(b).          Defendant is charged with

violations of conditions of supervision, as alleged in the

government's petition dated April 18, 2012 (doc. no. 657)1.

Defendant is on release from his convictions in 2010 for

conspiracy to possess with intent to distribute Oxycodone,

Oxycontin, Suboxone, Lorezpam and Ativan, in violation of 21

U.S.C. §§ 846 and 841(a).

     By way of background, Judge Lynch conducted hearings in the

case on April 23, 2012, (defendant's initial appearance); April

25, 2012 (defendant released on conditions including a third-

party custodian and electronic monitoring); and May 2, 2012

(defendant failed to appear).

     1
      Document No. 657 is a petition that appears to be
incorrectly dated. Judge Lynch's signature indicates that the
petition was subscribed and sworn before him on July 18, 2011.
However, the Notice of Violation and Affidavit in Support of
Warrant that accompanied this petition is dated April 18, 2012.
The docket indicates that the petition was filed on April 18,
2012, and entered on the docket the next date. Thus, the date
above Judge Lynch's signature appears to be a scrivener's error.
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    The May 2, 2012, hearing was necessary as a result of

defendant's third-party custodian having been evicted shortly

after defendant's release into her custody.          Specifically, Judge

Lynch had released defendant after the April 25 hearing with

strict instructions that defendant be placed on electronic

monitoring with a third-party custodian.         The May 3, 2012,

hearing was scheduled as a result of defendant's failure to

appear at the May 2 hearing.

    At the May 3 hearing, Defendant sought release under Rule

32.1(a)(6).   The government sought detention.         Under Rule

32.1(a)(6), defendant bears the burden of establishing by clear

and convincing evidence that he will not flee and that he poses

no danger to any other person or to the community.

    Defendant sought release based on vague, unsubstantiated

assertions that his new employer will provide him with a

temporary residence in the building where the employer's

business is located.     At some point in the future, the employer

will apparently allow defendant to stay in a rooming house.

Probation was unable to verify any of defendant's assertions

because defendant made his supervising officer aware of the

assertions for the first time immediately before the May 3

hearing.   Notably, not only did defendant miss the May 2 hearing

(due to a claimed failure to secure transportation), but

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defendant missed an appointment with his supervising officer and

drug test scheduled on that same date.        Based on the evidence

presented at the May 3 hearing, and for the reasons stated on

the record after the hearing, defendant failed to meet his

burden of persuading the court that his release, even on strict

conditions, poses no danger to any other person or to the

community.

    The court stated orally from the bench the reasons it was

not persuaded to release the defendant.        The court incorporates

its oral findings and rulings herein.        A summary of those

reasons follows:

          The pending violation details a troubling history that

           is strongly indicative that defendant is not likely to

           abide by conditions of release.        One month after being

           placed on supervision, defendant tested positive for

           marijuana use.     Defendant's supervising officer

           recommended "no action" with continued drug

           counseling.

          While the "no action" request was pending before Judge

           Laplante, the defendant tested positive for marijuana

           use on three subsequent dates: March 24, April 4, and

           April 9, 2012.     Defendant denied that he was using

           marijuana.

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          Additionally, defendant missed appointments with his

           substance abuse counselor (LTG) on March 29, April 11

           and 18, 2012.

          On April 11 and 18, 2012, defendant also missed

           appointments with his supervising officer.

          Although defendant is to be commended for finding a

           job, his conduct otherwise is not indicative of a

           person who takes seriously the rules of supervision.

           Without a stable residence which would allow for

           electronic monitoring and/or a third-party custodian,

           defendant's release represents too great a risk of

           danger to the community.

          Should the probation officer conclude that defendant's

           proposed residence will offer a stable residence, the

           court will entertain a motion for immediate bail

           hearing.   Until such further bail hearing, however,

           defendant is detained for the reasons stated orally on

           May 3, 2012, and summarized in this order.

    In sum, the court finds that defendant did not meet his

burden to show by clear and convincing evidence that his

release, even on strict conditions, would pose no danger to any

other person or the community.      Accordingly, it is ORDERED that

the defendant be detained pending a further bail hearing, to

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give defendant's supervising officer time to review defendant's

proposed residence.

      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.     The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                  On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.



                                   Landya B. McCafferty
                                   United States Magistrate Judge

Date: May 4, 2012

cc:   Glen G. Geiger, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




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